                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION


RACHELLE BEAUBRUN, et al.,

        Plaintiffs,

v.                                              Case No. 5:19-cv-615-TJC-PRL

UNITED STATES OF AMERICA,

        Defendant.


                                     ORDER

        On May 3, 2021, the United States filed a Notice (Doc. 75) advising that

the appropriate designee of the Attorney General of the United States approved

the settlements in this case. Thus, the parties shall have until August 3, 2021,

to file a joint motion for dismissal or other appropriate documents to close out

the file or a request for an extension.

        DONE AND ORDERED in Jacksonville, Florida, this 4th day of May,

2021.




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c:
Counsel of Record
